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for the
Middle District of Florida

Emirates Airlines

 

 

Plainnf(s)
V.

civil Acuon No. § "/§C \/5[7 /~ V}Q(f/? FBS
Jordan Jinhee Kim aka Jordan Kim. aka Jinhee Kim
and
Kim&Kim Asset L.L.C.

 

\J`/VV\J\J\/VWVVV

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendanr‘s name and address) Jordan Jinhee Kim aka Jordan Klm, aka Jinhee Kim
2008 A|aqua Drive
Longwood. F|orida 32779

A lawsuit has been filed against you.

Within 21 days aher service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plainde attomey,

whose name and address are: Andrew C. Lourie
Kobre & Kim LLP
2 South Biseayne Boulevard, 35th Floor
Miami. Florida 33131

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

MM§ , @ AW/Mo

Siénature of Clerk or Depuly Clerk

 

 

